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                    UNITED STATES COURT OF APPEALS                    FILED
                          FOR THE NINTH CIRCUIT                        JAN 19 2024
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS
PAM POE, by and through her parents and       No. 24-142
next friends, Penny and Peter Poe, et al.;
                                              D.C. No.
                                              1:23-cv-00269-BLW
            Plaintiffs - Appellees,           District of Idaho,
                                              Boise
 v.
                                              ORDER
RAUL LABRADOR, in his official capacity
as Attorney General of the State of Idaho,

            Defendant - Appellant,

and

JAN M BENNETTS, in her official capacity
as County Prosecuting Attorney for Ada,
Idaho, et al.;

            Defendants.

      The court has received appellant’s emergency motion. The opposition to the

motion is due January 23, 2024. The optional reply is due by noon Pacific Time,

January 26, 2024.


                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT
